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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION                                     ENTERED
                                                                                             11/01/2018
IN RE:                                             §
                                                   §      CASE NO. 17-33924
HASSAN CHAHADEH,                                   §
                                                   §
                                                   §      CHAPTER 11
                      DEBTOR.                      §

        STIPULATION AND AGREED ORDER TO EXTEND TIME TO OBJECT TO
               DISCHARGE OF DEBTS PURSUANT TO 11 U.S.C. § 727

           Regions Bank (“Regions”) and Hassan Chahadeh (the “Debtor”) hereby submit this

Stipulation and Order as follows:

           WHEREAS, the following recitals are agreed to by the parties:

1.         On June 27, 2017, the Debtor filed his chapter 11 bankruptcy petition under the United

States Bankruptcy Code.

2.         On November 8, 2017, Regions filed a proof of claim representing a judgment awarded

on April 27, 2015 against the Debtor in the 270th District Court of Harris County, Texas in the

amount of $1,493,627 plus post-judgment interest and costs of the court [Claim No. 22-2].

3.         On January 30, 2018, the Debtor filed his proposed Disclosure Statement and Plan [ECF

No. 175-76], which the Debtor did not seek approval of and the Court set a deadline of March

23, 2018 to file a revised disclosure statement and revised plan.

4.         On March 23, 2018, the Debtor filed his Amended Disclosure Statement and Amended Plan

[ECF No. 234-35]. On March 30, 2018, the Court entered an order [ECF No. 244] that approved

the Amended Disclosure Statement, fixed the deadlines for voting on and objecting to the Amended

Plan for May 11, 2018, and set the confirmation hearing of the Amended Plan for May 22, 2018.

5.         On May 4, 2018, San Jacinto, another creditor in the case, and Regions began the 2004

Examination of the Debtor, which had previously been rescheduled on multiple occasions.
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During the questioning a potential issue involving the solicitation package arose and the parties

agreed to terminate the examination and reconvene on May 22, 2018 to allow time to address the

issue. The 2004 Examination rescheduled for May 22, 2018 was cancelled and is being

rescheduled for a date to be determined in October 2018.

6.         On May 8, 2018, the Debtor filed a motion [ECF No. 269] to reschedule the confirmation

hearing, deadlines for voting on and objecting to the Amended Plan, and deadlines for objecting

to the Debtor’s exemption into July 2018. The Court extended the voting and objection deadlines

to July 6, 2018 and moved the confirmation hearing to July 16, 2018. [ECF No. 272]

7.         On July 10, 2018, the Debtor filed a motion [ECF No. 285] to reschedule the

confirmation hearing, deadlines for voting on and objecting to the Amended Plan and objecting

to the Debtor’s exemptions, which the Court heard on July 16, 2018. At the hearing, the Debtor

represented that the Amended Plan was not feasible in light of current financial developments

and that the Debtor intended to file a revised plan. The Court ruled that the revised plan must be

filed by September 14, 2018, objections are due by October 9, 2018, and the confirmation

hearing was set for October 16, 2018. The Court also set its sue sponte Motion to Covert to

Chapter 7 and carried Regions Motion to Appoint a Trustee [ECF No. 175] to October 16, 2018.

8.         On September 14, 2018, the Debtor filed his Second Amended Disclosure Statement

[ECF No. 305], Second Amended Plan [ECF No. 304], and Third Amended Schedule I [ECF No.

303], which reported a reduction of monthly income.

9.         On October 12, 2018, the Debtor filed a Notice of Reset Hearing to reschedule the

confirmation hearing from October 16, 2018 to November 27, 2018.

10.        Pursuant to the Stipulation and Agreed Order to Extend Time to Object to Discharge of

Debts Pursuant to 11 U.S.C. § 727 [ECF No. 291] entered July 26, 2018, the current deadline for


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Regions to file an objection to the Debtor’s discharge is October 30, 2018.

11.        Regions and the Debtor agree that an extension of the December 31, 2018 deadline is

appropriate in light of the developments in the bankruptcy case and pending 2004 Examination.

           NOW, THEREFORE, IT IS STIPULATED BY THE PARTIES AND HEREBY

ORDERED THAT:

12.        The foregoing recitals are incorporated by reference into this Stipulation and Order.

13.        Regions and the Debtor agree that Regions shall have until December 31, 2018 to file a

complaint challenging the Debtor’s entitlement to a discharge pursuant to 11 U.S.C. § 727.

14.        Nothing set forth herein shall prejudice the rights of either Regions or the Debtor,

including the right to seek further extension of the deadline.

Stipulated By:

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IT IS SO ORDERED.

   Signed:
Signed:    October 31,
        __________,    2018.
                    2018
Houston, Texas                                       DAVID R. JONES
                                                   ____________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE
                                                   DAVID R. JONES
                                                   UNITED STATES BANKRUPTCY JUDGE
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